Exhibit D
                                                                                             EXHIBIT A

                                        PROMISSORY NOTE

$ 2,000,000.00                                                                     New York, NY
                                                                                   October 11, 2017

      FOR VALUE RECEIVED, the undersigned M3 INNOVATIONS UNLIMITED, INC., a Delaware
corporation ("Borrower"), hereby promises to pay to the order of MICHAEL RICATTO ("Ricatto"), at
260 Madison Ave, 5th Floor, New York, NY 10006, or at such other place as Ricatto or any
subsequent holder hereof (the "Holder") may, from time to time, designate in writing, the principal
sum of TWO MILLION DOLLARS ($2,000,000), or so much of that sum as may be advanced under
this Note by Ricatto pursuant to the Line of Credit Agreement (defined below), with principal and
interest thereon payable as specified in this Note. Capitalized terms used but not defined herein
shall have the meanings assigned to such terms in the Line of Credit Agreement.

    1. Principal and Interest. Interest shall accrue on the Line of Credit from and after the date
of disbursement at an annual rate of twelve percent (12%) and three percent (3%) on any amount of
the Line of Credit which has yet to be drawn upon (the "Interest Rate"). The Interest Rate and
amortized portion of the outstanding principal shall be payable monthly on the third day of each
month, beginning on the thirteenth (13th) month following the effective date of this Note and the Line
of Credit Agreement. Interest accrued during the first twelve (12) months shall be amortized
beginning on the thirteenth (13th) month over the remaining term of the loan. Unless extended by the
mutual agreement of the parties, all outstanding principal, accrued but unpaid interest and other
outstanding sums due under the Line of Credit Agreement shall be paid in full on the 30th month
anniversary of the first (1st) disbursement made under the Line of Credit Agreement (the "Maturity
Date"), the entire unpaid principal amount and any interest accrued but unpaid and all other sums
due under this Promissory Note ("Note") shall be paid in full to the Holder.

All payments under this Note shall be made only in lawful money of the United States of America, at
such place as the Holder hereof may designate in writing from time to time.

    2. Revolving Loan. Up to Two Million Dollars ($2,000,000.00) of the principal amount of this
Note may be disbursed, repaid and reborrowed in accordance with the terms of the Line of Credit
Agreement, provided that the aggregate of such advances at any time does not exceed
$2,000,000.00.

    3. Prepayment. This Note may be prepaid in part (or in full) at any time prior to the Maturity
Date (except as expressly provided herein), and from time to time, without premium or penalty, and
without the prior consent of the Holder hereof, on the conditions that (a) Borrower shall concurrently
pay all accrued but unpaid interest on the amount of principal outstanding at the time of each
prepayment, and that (b) Borrower shall provide Holder with five (5) days' prior written notice
("Prepayment Notice") of the amount of the prepayment. In the event Borrower prepays the principle
and interest prior to the Maturity Date, Borrower may elect at its sole discretion to terminate the line
of credit.

    4. Default and Acceleration. Time is of the essence in the performance of Borrower's
obligations pursuant to this Note. Upon the occurrence of a Default as defined in the Line of Credit
Agreement, at the option of the Holder hereof, (i) the entire outstanding principal balance, all
accrued but unpaid interest at once shall become due and payable upon written notice to Borrower,
and (ii) the Holder may pursue all other rights and remedies available under this Note, any
instrument securing payment of this Note, or by law. Upon any Default, Ricatto shall be entitled to
recover any and all of its costs of collection, including reasonable attorney’s fees.
    5. Default Rate of Interest. Upon the occurrence of a Default, Borrower promises to pay
interest on the outstanding principal balance of this Note, together with all accrued but unpaid,
interest at a rate of interest equal to the lesser of (i) sixteen percent (16%) per annum; or (ii) the
maximum allowable and applicable New York State statutory usury rate ("Default Rate").

   6. Discharge. Upon payment at the Maturity Date or if Borrower elects, upon early
prepayment of this Note in full pursuant to clause 3, this Note, shall be fully discharged and the Note
shall be cancelled and surrendered to Borrower.

    7. Remedies Cumulative. The rights or remedies of the Holder as provided in this Note
shall be cumulative and concurrent and may be pursued at the sole discretion of the Holder singly,
successively, or together against Borrower. The failure to exercise any such right or remedy shall in
no event be construed as a waiver or release of such rights or remedies or the right to exercise them
at any later time.

    8. Forbearance. Any forbearance of the Holder in exercising any right or remedy hereunder
or under the Line of Credit Agreement, or otherwise afforded by applicable law, shall not be a waiver
of or preclude the exercise of any right or remedy. The acceptance by the Holder of payment of any
sum payable hereunder after the due date of such payment shall not be a waiver of the Holder's right
to either require prompt payment when due of all other sums payable hereunder or to declare a
Default for failure to make prompt payment. No delay or omission on the part of the Holder in
exercising any right hereunder shall operate as a waiver of such right or of any other right under this
Note.

     9. Usury. In the event the interest provisions hereof, any exactions provided for herein or in
the Line of Credit Agreement, shall result, in an effective rate of interest which, exceeds the limit of
the usury laws or any other applicable law, all sums in excess of those lawfully collectible as interest
for the period in question shall, without further agreement or notice between or by any party hereto,
be applied upon the outstanding principal balance of this Note immediately upon receipt of such
moneys by the Holder, and any such amount in excess of such outstanding principal balance shall
be returned to Borrower.

    10. Line of Credit Agreement. This Note is executed by Borrower in connection with that
certain Line of Credit Agreement between Borrower and Ricatto of even date herewith (the "Line of
Credit Agreement") and this Note is secured by the Collateral described in the Line of Credit
Agreement. In the event of any conflict between any provision of the Line of Credit Agreement and
any provisions of this Note, the provision of the Line of Credit Agreement shall control.

     11. Jurisdiction. This Note is to be governed according to the laws of the State of New York,
without giving effect to conflict of law principles. Any dispute or litigation with respect to the
representations, warranties, terms and conditions of this Agreement, or any other matter between
the parties, shall be litigated in New York and the parties hereby expressly consents to the exclusive
jurisdiction and venue in said New York courts

    12. Force Majeure:
        a. Definition. Force Majeure Events are those risks beyond the reasonable control of a
           party, incurred not as a product or result of the negligence of the afflicted party, which
           have a materially adverse effect on the ability of such party to perform its obligations.
           Force Majeure Events include but are not limited to earthquakes, floods, fire, plague,
           drought, crop failure, explosions and other natural disasters; terrorism or threats of
           terrorism, riots or civil disturbances; war and hostilities, whether declared or not; strikes,

                                                    2
            change of law or regulation, nuclear or chemical contamination, pressure waves from
            devices travelling at supersonic speeds, and failure of public infrastructure.
        b. Consequences of a Force Majeure Event.
            i. Liability. Except as otherwise provided for in this Section 12, either party’s time to
               perform its obligations under this Note shall be tolled and extended through the
               Force Majeure Tolling Period (as such term is defined herein), and during the Force
               Majeure Tolling Period neither party shall incur any liability to the other party for any
               losses or damages of any nature whatsoever incurred or suffered by the other party
               or be in default under this Note, if and to the extent that it is prevented from carrying
               out those obligations by, or such losses or damages are caused by, a Force Majeure
               Event except to the extent that the relevant breach of its obligations would have
               occurred, or the relevant losses or damages would have arisen, even if the Force
               Majeure Event had not occurred. Notwithstanding the foregoing, interest in such
               amounts as provided for herein and in the Note, shall continue to accrue against all
               outstanding principal amounts and any amount of the Line of Credit which have yet
               to be drawn upon, during such Force Majeure Event, provided however that no
               default rate interests shall be imposed.
           ii. Notice. Within five (5) business days following the date of commencement of a Force
               Majeure Event, and within five (5) business days following the date of termination of
               a Force Majeure Event, any party invoking it shall submit to the other party
               reasonable proof of the nature of the Force Majeure Event and of its effect upon the
               performance of the party's obligations under this Agreement.
          iii. Timing. Notwithstanding anything to the contrary contained in this Section 12, the
               tolling of liability and protections against breaches of obligations as provided in
               Section 11(b)(i) above shall extend for the shorter of (i) the time period between the
               date of commencement of a Force Majeure Event and the termination or end to the
               Force Majeure Event; or (i) six (6) months from the date of any Force Majeure Event
               (collectively the “Force Majeure Tolling Period”). Upon the expiration of any Force
               Majeure Tolling Period, the Maturity Date shall be extended for a period of time equal
               to the Force Majeure Tolling Period.
          iv. Mitigation. Borrower shall at all times take all reasonable steps within its power and
               consistent with industry practices (but without incurring unreasonable additional
               costs) to: (a) prevent Force Majeure Events affecting the performance of Borrower’s
               obligations under this Agreement; (b) mitigate the effect of any Force Majeure Event;
               and (c) comply with its obligations under this Agreement. The parties shall consult
               together in relation to the above matters following the occurrence of a Force Majeure
               Event.

    13. Binding Effect. This Note shall be binding upon Borrower, and its successors and
assigns and shall inure to the benefit of the Holder and its successors and assigns.




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    14. Notice. All notices required or permitted in connection with this Note shall be given at the
place and in the manner provided in the Line of Credit Agreement for the giving of notices.




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